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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION




UNITED STATES OF AMERICA,                    )       Case No.: 1:06 CR 125- 11
                                             )
       Plaintiff                             )       JUDGE SOLOMON OLIVER, JR.
                                             )
       v.                                    )
                                             )       ORDER ACCEPTING PLEA
ROMULO HERNANDEZ,                            )       AGREEMENT, JUDGMENT AND
                                             )       REFERRAL TO U. S. PROBATION
       Defendant                             )       OFFICE



       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge Baughman regarding the change of plea hearing and plea agreement of which

was referred to the Magistrate Judge with the consent of the parties.

       On May 9, 2006, the government filed a thirty-six count superseding indictment against

the Defendant Hernandez and 25 co-defendants. Defendant Hernandez was charged with

Conspiracy to Smuggle Aliens into and within the United States, in violation of Title 8, United

States Code, Section 1324(a)(1)(A)(v)(I); Conspiracy to Commit Mail Fraud, Wire Fraud,

Document Fraud, and Structuring Financial Transactions, in violation of Title 18 United States

Code, Section 371. On January 22, 2007, a hearing was held in which Defendant Hernandez was

arraigned and entered a plea of guilty to count 1 of the Superseding Indictment before Magistrate
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Judge William H. Baughman, Jr. and a Report and Recommendation (“R&R”) was issued

concerning whether the plea should be accepted and a finding of guilty entered. Magistrate Judge

Baughman filed his R&R on January 22, 2007.

       Neither party submitted objections to the Magistrate Judge’s R&R in the ten days after it

was issued.

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant

Hernandez is found to be competent to enter a plea and to understand his constitutional rights.

He is aware of the charges and of the consequences of entering a plea. There is an adequate

factual basis for the plea. The Court finds the plea was entered knowingly, intelligently, and

voluntarily. The plea agreement is approved.

       Therefore, Defendant Hernandez is adjudged guilty of Count One of the Superseding

Indictment, in violation of Title 8 United States Code, Section 1324(a)(1)(A)(v)(I).

       IT IS SO ORDERED.



                                             /s/SOLOMON OLIVER, JR.
                                             UNITED STATES DISTRICT JUDGE
